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                                                        HONORABLE RICHARD A. JONES
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                            UNITED STATES DISTRICT COURT
7                          WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
8
     WILD FISH CONSERVANCY
9
                  Plaintiff,
10                                                    Case No. 20-cv-417-RAJ
           v.
11                                                    ORDER ADOPTING REPORT
     SCOTT RUMSEY, et al.,                            AND RECOMMENDATION
12
13                Defendants,

14         and

15   ALASKA TROLLERS ASSOCIATION
     and STATE OF ALASKA,
16
                  Defendants.
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18         The Court, having reviewed the Report and Recommendation of the Honorable
19   Michelle L. Peterson, United States Magistrate Judge, any objections thereto, and the
20   remaining record, hereby finds and ORDERS as follows:
21         (1) The Report and Recommendation is approved and adopted;
22         (2) Plaintiff’s Motion for “Final Order on Relief and for a Temporary Restraining
23   Order and/or a Preliminary Injunction Pending Entry of a Final Order on Relief” (dkt. #
24   127) is GRANTED in part and DENIED in part. Specifically, the Court ORDERS:
25         (a) that the 2019 Southeast Alaska Biological Opinion (“2019 SEAK BiOp”) is
26   REMANDED to the National Marine Fisheries Service (“NMFS”) to remedy the
27   Endangered Species Act (“ESA”) and National Environmental Policy Act (“NEPA”)
28   ORDER – 1
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     violations previously found by this Court (see dkt. ## 111, 122);
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           (b) that portions of the 2019 SEAK BiOp concerning the incidental take statement
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     that authorizes “take” of the Southern Resident Killer Whale and Chinook salmon
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     resulting from commercial harvests of Chinook salmon during the winter and summer
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     seasons (excluding the spring season) of the troll fisheries is VACATED; and
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           (c) Plaintiff’s request that portions of the 2019 SEAK BiOp that adopt, and consult
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     under Section 7 of the ESA on NMFS’s prey increase program be vacated and/or
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     enjoined is DENIED; and
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           (3) The Clerk is directed to send copies of this Order to the parties.
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           DATED this 2nd day of May, 2023.
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13
                                                      A
                                                      The Honorable Richard A. Jones
14                                                    United States District Judge
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28   ORDER – 2
